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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE


PHILIP RIPTON              )
                           )
      Plaintiff,           )
                           )
v.                         )                  CASE NO. 1:07-cv-20
                           )
CAMP DRESSER & MCKEE, INC. )
and CAMP DRESSER & MCKEE )
BUILDERS, INC. f/k/a CDM   )
CONSTRUCTORS, INC.         )
                           )
      Defendants.          )

                     PLAINTIFF’S MOTION TO AMEND COMPLAINT

        NOW COMES the Plaintiff, by and through undersigned counsel, and requests leave to

file an amended complaint for the following reasons:

        1.       Based upon Defendants’ representations, Camp Dresser & McKee Builders, Inc.

never employed Plaintiff. Instead, according to Defendants, CDM Constructors, Inc. employed

Plaintiff.

        2.       CDM Constructors, Inc. was and is a wholly owned subsidiary of Camp Dresser

& McKee, Inc. Plaintiff alleges that both entities were his employers for purposes of this action.

        3.       Therefore, Plaintiff requests leave to amend his complaint to include CDM

Constructors, Inc. as a Defendant and to dismiss his claims against Camp Dresser & McKee

Builders, Inc.

        4.       A copy of the proposed First Amended Complaint is attached hereto.




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                                                    Respectfully submitted,

Date: May 4, 2007                                   /s/ Peter L. Thompson
                                                    Peter L. Thompson
                                                    Attorney for Plaintiff

                                                    Peter Thompson & Associates
                                                    92 Exchange Street, 2d Floor
                                                    Portland, Maine 04101
                                                    (207) 874-0909

                                CERTIFICATE OF SERVICE

       I certify that I served the foregoing document upon all counsel of record through this
Court’s electronic filing system on the date below.

Date: May 4, 2007                                   /s/Peter L. Thompson




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